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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________________

JAMES C. KISTNER,

                 Plaintiff,

     vs.                                            Civil No.: 18-CV-00402

THE CITY OF BUFFALO, BYRON LOCKWOOD,
DANIEL DERENDA, LAUREN McDERMOTT,
JENNY VELEZ, KARL SCHULTZ, KYLE MORIARITY,
DAVID T. SANTANA, and ANTHONY McHUGH,

                  Defendants.
_________________________________________________




         PLAINTIFF’S RESPONSE TO THE DEFENDANTS’
      OBJECTIONS TO THE REPORT AND RECOMMENDATION




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                                        PRELIMINARY STATEMENT

                    Plaintiff, James C. Kistner, respectfully submits the following in response to the

defendants’ objections to the January 11, February 28, and April 12, 2022 Reports and

Recommendations (collectively referred to as the “R&R”) of the Hon. Jeremiah J. McCarthy

(“Magistrate”). As explained below, the defendants have failed to establish grounds for the

Court to reject or modify the Magistrate’s R&R, and the defendants’ objections should therefore

be rejected. However, for the reasons stated in his objections, the plaintiff has raised sufficient

grounds for rejection and/or modification of the R&R in whole or in part, and he fully

incorporates the arguments set forth in that submission as if restated herein. Thus, after

conducting a de novo review, the Court should issue an order consistent with the objections filed

by the plaintiff on June 15, 2022. (See Dkt. No. 132).



                                                    ARGUMENT

           I.       The Magistrate’s Recommendation to Deny the Defendants’ Motion for
                    Judgment on the Pleadings Regarding Certain State Claims Based on
                    Alleged Pleading Deficiencies Should Be Accepted.

                    In the defendants’ objections, they assert the Magistrate erred in denying their

motion for judgment on the pleadings regarding the plaintiff’s state law claims for false

imprisonment, abuse of prosecution,1 and battery based solely on the argument that “plaintiff did

not respond” to their argument that these claims were subject to dismissal “because they were

not included in plaintiff’s notice of claim.” (See Dkt. No. 133, at p. 2). Defendants’ objection

should be denied because the plaintiff did respond to this argument (see Dkt. No. 98, at pp. 6-7),

and for the additional reason that it lacks merit.



1
    Plaintiff does not oppose the defendants’ request for dismissal of his abuse of prosecution claim.

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                Initially, the defendants’ argument that the plaintiff’s false imprisonment and

battery claims “were not included” in the notice of claim legally is incorrect. Indeed, courts

analyzing similar arguments made by other defendants have held that specific notice of the legal

theory or theories upon which liability is predicated is not required; rather, to comply with

New York’s General Municipal Law, a notice of claim must give the municipality notice of the

“essential facts” that underlie the plaintiff’s claim. See, e.g., Felice v. Eastport/South Manor

Cent. School Dist., 50 A.D.3d 138, 148 (2d Dept. 2008); Szymkowiak v. New York Power

Authority, 162 A.D.3d 1652, 1655 (4th Dept. 2018) (citing Felice, 50 A.D.3d at 148). Here,

because the plaintiff’s notice of claim provided the defendants with notice of the “essential facts”

underlying his false imprisonment and battery claims, the Magistrate was correct to recommend

that “these claims should not be dismissed at the pleading stage.” (Dkt. No. 108, at p. 11 (“I note

that although [the plaintiff’s] Notice of Claim does not specifically allege false imprisonment, it

does allege false arrest . . ., which ‘is a species of false imprisonment’ . . . It also alleges battery,

which is distinct from his withdrawn claim of assault.”) Thus, the R&R’s finding that the

plaintiff complied with the pleading requirements contained in New York’s General Municipal

Law should not be disturbed. (Id.)

                Additionally, the elements for the plaintiff’s false arrest and false imprisonment

claims are exactly the same (see Solomon v. City of Rochester, 449 F. Supp. 3d 104, 114

(W.D.N.Y. 2020)), and therefore the same facts in his notice of claim that indisputably support

his false arrest claim equally support his false imprisonment claim. As such, for this additional

reason, the Magistrate’s denial of the defendants’ motion for judgment on the pleadings

regarding the plaintiff’s false imprisonment claim should be accepted.




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        II.     The Magistrate’s Recommendation to Deny the Defendants’ Request for
                Dismissal of the Plaintiff’s Monell Claim Should be Accepted.

                In their objections, the defendants argue that the plaintiff’s Monell claim should

be dismissed because “[p]laintiff offers no evidence of the existence of any policy or custom that

would subject the City to Monell liability, let alone a causal connection between that policy or

custom and plaintiff’s alleged injuries.” (See Dkt. No. 133, at pp. 3-4).

                First, despite the defendants’ assertion to the contrary, the Second Circuit has

stated that a showing of multiple, similar Constitutional violations is not necessary to show the

existence of a “policy or custom” sufficient to hold a municipality liable under a Monell theory

of liability; “rather, a single action taken by a municipality is sufficient to expose it to liability.”

Amnesty America v. Town of West Hartford, 361 F.3d 113, 125 (2d Cir. 2004); see, e.g.,

Greenway v. County of Nassau, 97 F. Supp. 3d 225, 239 (E.D.N.Y. 2015) (“single instance of

deliberate indifference to subordinate’s actions” is sufficient to expose municipality to liability);

Pipitone v. City of New York, 57 F. Supp. 3d 173, 191 (E.D.N.Y. 2014) (denying City’s motion

for summary judgment regarding the plaintiff’s Monell claim concluding “[t]he single action or

inaction of a municipal policy maker, such as a specific failure to adequately supervise or

discipline an officer, can also form an official policy or custom attributable to a municipality for

purposes of municipal liability”). Additionally, a municipality can be found to be deliberately

indifferent based on a single instance of a failure to discipline or retrain officers after a clear civil

rights violation. See, e.g., Greenway, 97 F. Supp. 3d at 238 (“policymaker’s failure to

investigate or rectify the situation evidences deliberate indifference rather than mere negligence

or bureaucratic inaction”) (citing Amnesty, 261 F.3d at 128; Vann v. City of New York, 72 F.3d

1040, 1049 (2d Cir. 1995)); Fiacco v. City of Rensselaer, N.Y., 783 F.2d 319, 331-32 (2d Cir.

1986) (City’s “uninterested and superficial” response to complaint “would have been viewed by

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the officers and should have been viewed by an objective observer, as reflecting an indifference

by the City” to civil-rights violations by its officers).

                Second, regarding the defendants’ contention that the plaintiff cannot show a

causal connection between the alleged policy or custom and the harm that he suffered, courts in

this Circuit consistently have held that post-incident conduct is relevant and may on its own be

sufficient to show the existence of a policy or custom that existed at the time of the incident

underlying the plaintiff’s Monell claim. See, e.g., Ramos v. County of Suffolk, No. 07-CV-1250,

2009 WL 10708571, at *5 (E.D.N.Y. Sept. 8, 2009); see also McLennon v. City of New York,

171 F. Supp. 3d 69, 97 (E.D.N.Y. 2016) (“the disposition of the policymaker may be inferred

from his conduct after the events giving rise to the constitutional violation”).

                Here, the plaintiff presented substantial evidence demonstrating that there exists

in the City of Buffalo an informal policy or custom that allows BPD officers to violate the civil

rights of others without any serious consequences. See Cash v. County of Erie, 654 F.3d 324,

334 (2d Cir. 2011) (“municipal policy may be pronounced or tacit and reflected in either action

or inaction”). During Lockwood’s deposition, he stated that when reviewing the IAD case file

for this incident, his only concern was whether “Officer McDermott intentionally [struck] James

Kistner with her patrol car?” (See Dkt. No. 82-7, Exhibit A at pp. 156-73) (emphasis added).

Upon further examination, when questioned on whether he was at all concerned with any of the

other policy violations that he admitted were committed by the defendants earlier in his

deposition, Lockwood testified as follows:

                Q:      You knew that . . . [the] incident that’s depicted in that video that you saw
                        at some point was never reported to the lieutenant, to IAD, or AIU to
                        perform the types of investigation that we spoke about at length earlier
                        today, correct?

                A:      Correct.

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                 Q:       What corrective actions did you take or discipline did you impose against
                          the officers who did not report that incident as required by the MOP?

                 A:       None.

(See Dkt. No. 82-7, at pp. 163-64).

                 As a result of the narrow investigation, the City of Buffalo, through its official

policymaker Byron Lockwood, ignored or failed to consider evidence of thirteen violations of

the MOP and four crimes committed by the on-scene officers. (See Dkt. No. 82-5, Exhibit B at

p. 34). This evidence is sufficient to raise a jury issue that the City of Buffalo had at the time of

the incident (and still today) an informal policy or custom that allows BPD officers to commit

clear civil-rights violations with absolute impunity. Thus, the City of Buffalo’s failure properly

to investigate, retrain, and discipline the on-scene officers for their clear misconduct in this

single incident is sufficient to subject the City to liability under a Monell theory of liability.

See, e.g., Amnesty, 361 F.3d at 125; Greenway, 97 F. Supp. 3d at 239; Pipitone, 57 F. Supp. 3d at

173.

                 However, even if the Court were to disagree and find that this single instance of

deliberate indifference to the on-scene officers’ conduct is not sufficient to trigger Monell

liability, the plaintiff has presented substantial evidence demonstrating that Lockwood’s lack of

care for disciplining and retraining these officers is merely a continuation of former BPD

Commissioner Derenda’s informal policy of not disciplining officers who violate the MOP or

engage in criminal behavior. Indeed, prior to the New Year’s Day 2017 incident, Schultz had

eleven IAD complaints against him, one of which included an officer-involved shooting that led

to a $4.5 million settlement paid by The City. (See Dkt. No. 82-3, Exhibit Q).2 The IAD


2
 The Court may take judicial notice of the public settlement made by the City of Buffalo:
https://www.investigativepost.org/2020/02/04/police-shooting-costs-buffalo-4-5-million/

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investigation of the 2012 shooting concluded with former Commissioner Derenda finding the

allegations of wrongdoing by Schultz were “not sustained.” (Id.) Here, the defendants behaved

in a way demonstrating they relied on the City of Buffalo’s informal policy of not disciplining

subordinates when they falsely arrested the plaintiff.

               Accordingly, the Court should affirm the Magistrate’s finding that “the record is

replete with such evidence” demonstrating triable issues regarding the plaintiff’s Monell claim,

and it should find that Lockwood’s failure to discipline the defendants after his eventual review

of the surveillance video “justifies a reasonable inference that he ratified [the defendants’]

actions in a manner sufficient to impose Monell liability upon the City of Buffalo.” (Dkt. No.

108, at pp. 28-30).



       III.    The Magistrate’s Recommendation to Grant the Plaintiff’s Motion for
               Summary Judgment for His False Arrest Claims Against Defendants
               McDermott, Velez, Schultz, and Moriarity Should be Accepted.

               In their third objection to the Magistrate’s R&R, the defendants argue that their

arrest of the plaintiff for criminal mischief in the third degree was supported by probable cause

or arguable probable cause based solely on Schultz’s sham observation that Mr. Kistner

intentionally threw himself at McDermott’s vehicle. (See Dkt. No. 133, at pp. 4-6). In making

the assertion that the plaintiff’s arrest was based on probable cause or arguable probable cause,

defendants raise a new argument, not previously presented to the Magistrate, that they could

have charged the plaintiff with criminal mischief in the fourth degree—a criminal statute that

does not include the $250 minimum threshold for property damage. (Id., at pp. 5-6 (“Here, even

though there is no repair record showing that the amount of damage to the police vehicle

exceeded the statutory threshold of $250 for third degree criminal mischief, the officers’



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testimony that the mirror was damaged, coupled with officers’ perspective that plaintiff

intentionally threw himself at the vehicle, was enough to establish probable cause to arrest

plaintiff.”)

               There are numerous issues with the defendants’ argument, not the least of which

includes their utter failure to address the plaintiff’s expert testimony that establishes Schultz is

not a credible witness and therefore no reasonable jury could believe him. First, the video

evidence itself demonstrates that there is no genuine dispute that Schultz’s vehicle, driven by

Moriarity, was still in motion at the time the impact occurred. (See Dkt. No. 68-4, Exhibits C

and D). However, even though it is clear from the video itself that Schultz’s testimony on this

point is not credible, the plaintiff’s unchallenged expert, Dr. Jennifer Yaek, performed a frame-

by-frame analysis of all available surveillance videos and concluded that Schultz’s vehicle was

still in motion at the time of the collision between Mr. Kistner and McDermott’s vehicle. (Id.,

Exhibits B and D). Schultz’s testimony that his vehicle was stopped at or around the time of

impact blatantly is contradicted by the video footage and Dr. Yaek’s analysis of the same, and

therefore it is incredible as a matter of law and should not be accepted by the Court. See, e.g.,

Deutsche Bank AG v. Amba Credit Prods., LLC, No. 04-CV-5594, 2006 WL 1867497, at *8

(S.D.N.Y. July 6, 2006) (noting that the evidence submitted to rebut the testimony of movant’s

experts was “flimsy at best” because it “relie[d] primarily on . . . [non-movant’s] self-serving

assertions”); Calloway v. Richter, No. 97-CV-0671, 1998 WL 3430142, at *4 (W.D.N.Y. Dec.

30, 1998) (granting summary judgment in favor of defendants where “the plaintiff ha[d] failed to

present any evidence, other than his self-serving, conclusory statements, to rebut defendant’s

expert’s conclusion that the September 3, 1994 letter could not have been written in 1994”).




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               Second, the evidence before the Court establishes that there is no genuine dispute

that it would have been physically impossible for Schultz to view the accident through the

driver’s side mirror while he was sitting in the front passenger seat. As explained by Dr. Yaek,

the Law of Reflection establishes that the angle of reflection equals the angle of incidence.

(See Dkt. No. 68-4, Exhibit B). Schultz, sitting in the passenger seat, would have viewed the

driver’s side mirror at a conservative estimate of 30 degrees, and therefore he would only be able

to view objects 30 degrees parallel to the mirror on the opposite side of the vehicle. (Id.) Thus,

Schultz would have observed lawns and houses on the west side of the roadway, not the collision

between the plaintiff and McDermott’s vehicle. (Id.)

               While this principle alone sufficiently establishes that it physically would have

been impossible for Schultz to view the accident through the driver’s side mirror, Dr. Yaek went

a step further and reenacted what Schultz would have observed through a driver’s side mirror

while sitting in the passenger seat of a 2015 Chevy Tahoe. (See Dkt. No. 68-4, Exhibit E).

Dr. Yaek’s testing showed that a passenger of a vehicle looking through a driver’s side mirror

would not have been able to view the collision that occurred behind the Tahoe in the middle of

the roadway. (Id.) This reenactment further established that Schultz’s testimony is incredible as

a matter of law since it was physically impossible for him to have seen what he claims he saw.

See, e.g., United States v. Sanchez, 969 F.2d 1409, 1414 (2d Cir. 1992), cert. denied, 514 U.S.

1038 (1995) (concluding that a court must disregard testimony from a witness about occurrences

that “def[y] physical realities”) (citations omitted); Espinal v. Trezechahn 1065 Ave. of

Americas, LLC, 94 A.D.3d 611 (1st Dept. 2012) (finding the non-movant’s version of the

incident “incredible as a matter of law” because the movant’s expert established “the incident

was mechanically and physically impossible”) (citations and quotations omitted).



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                  And third, while it is clear from the video that the plaintiff did not throw himself

at McDermott’s vehicle, Dr. Yaek performed a frame-by-frame analysis of the surveillance

videos, concluding from her review of the same that Mr. Kistner maintained a normal walking

speed in the moments leading up to the collision and at no point did he lunge or jump into the

vehicle, as Schultz initially testified that he saw. (See Dkt. No. 68-4, Exhibit B). Thus, the

Court should not credit the defendants’ self-serving testimony that the plaintiff threw himself at

McDermott’s vehicle with intent to damage it. See, e.g., Bellsouth Telecommunications, Inc. v.

W.R. Grace & Company-Conn., 77 F.3d 603, 615 (2d Cir. 1996) (“conclusory statements are

insufficient to raise a triable issue of material fact”); Issac v. City of New York, No. 16-CV-4729,

2020 WL 1694300, at *4 (E.D.N.Y. Apr. 6, 2020) (same); Zuckerman v. City of New York,

49 N.Y.2d 557, 562 (1980) (“mere conclusions, expressions of hope or unsubstantiated

allegations or assertions are insufficient” to raise a triable issue of fact).3

                  Additionally, with regard to the defendants’ assertion that the defendants

observed damage to McDermott’s vehicle, the Court should not give the officers’ testimony any

weight as there is no evidence in the record to support their false observations. (See Dkt. No.

133, at p. 5 (“Schultz, McDermott and Velez testified that the mirror was damaged”)). First, no

visible damage to the vehicle is seen on the surveillance video, and from the degree and point of

impact it is hard to believe that the vehicle could have suffered any damage of the nature and

severity described by the defendants in their testimony and criminal complaints against the

plaintiff. (See Dkt. No. 68-4, Exhibits B and C). Second, the vehicle was serviced at the BPD




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  Moreover, although the defendants assert that “Moriarity and McDermott also testified that plaintiff threw himself
into the vehicle” (see Dkt. No. 133, at p. 4), this assertion misconstrues their testimony. Both witnesses testified that
they did not see the collision (see Dkt. No. 68-3, Exhibit H at pp. 109-10, 113; id., Exhibit G at pp. 108-15, 153-54,
171-80), and therefore the Court should not give their testimony any weight with respect to whether they believed
that the plaintiff intentionally threw himself at McDermott’s vehicle.

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Garage four days after the incident, and there is no record of the mirror or window being repaired

at that time (or ever for that matter). (See Dkt. No. 82-1, Exhibit B). And third, McDermott

testified and the surveillance video shows that she took a photograph of the alleged damage to

the vehicle after the incident, but that photograph was either discarded or lost, and never was

disclosed to the plaintiff or the district attorney’s office despite repeated demands that it be

produced. (See Dkt. No. 68-4, Exhibit C; Dkt. No. 74-2, at pp. 247-49).

               Defendants do not address any of this evidence except for the lack of a service

record. (See Dkt. No. 133, at pp. 4-6). However, there is ample evidence in the record that

shows McDermott’s vehicle sustained no damage, and the defendants’ claims to the contrary are

as false as they are convenient. Accordingly, the Court should accept the Magistrate’s

recommendation that the plaintiff’s motion for summary judgment be granted regarding his false

arrest claim for the criminal mischief charge as no reasonable jury could believe the defendants’

incredible testimony. See, e.g., Kaminski v. Anderson, 792 F. Supp. 2d 657, 661 (W.D.N.Y.

2011) (“it is insufficient for a party opposing summary judgment ‘merely to assert a conclusion

without supplying supporting arguments or facts’”) (quoting BellSouth Telecomm., Inc., 77 F.3d

at 615); see also Cinquemani v. Otis Elevator Company, 179 A.D.3d 588, 588-89 (1st Dept.

2020) (“In opposition, plaintiffs failed to raise a triable issue of fact. Their expert’s statements

that defendants were negligent were conclusory and failed to rebut defendants’ showing that it

was impossible for the incident to have occurred in the manner plaintiffs allege.”)




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       IV.     The Magistrate’s Recommendation to Deny the Defendants’ Motion for
               Summary Judgment Regarding the Plaintiff’s Malicious Prosecution Claim
               Should be Accepted.

               In their fourth objection, the defendants argue that the prosecution of Mr. Kistner

for criminal mischief was supported by probable cause or arguable probable cause, essentially

relying on the same faulty arguments that are discussed above, but adding that the probable cause

standard for malicious prosecution is “slightly higher” than the standard for false arrest cases.

(See Dkt. No. 133, at pp. 6-8). However, the defendants ignore that the central issue with respect

to malicious-prosecution claims is whether probable cause exists “at the time the judicial

proceeding is commenced,” as opposed to at the time of the arrest. Peterson v. Regina,

935 F. Supp. 2d 628, 642 (S.D.N.Y. 2013) (citation omitted).

               As explained above, the Magistrate was correct to find that the defendants did not

have probable cause to arrest the plaintiff. (See Point III, supra). However, assuming that this

Court finds an issue of fact regarding probable cause to arrest the plaintiff, the defendants

absolutely did not have probable cause to prosecute Mr. Kistner due to their utter failure to

perform any investigation of the criminal charges that they lodged against him. See Manganiello

v. City of New York, 612 F.3d 149, 161 (2d Cir. 2010) (“the failure to make a further inquiry

when a reasonable person would have done so may be evidence of lack of probable cause”)

(citing Colon v. City of New York, 60 N.Y.2d 78, 82 (1983)).

               Here, at the time of the plaintiff’s initial arrest, the defendants were aware that the

accident was recorded on surveillance cameras owned by the plaintiff. In fact, the BPD

“Complaint Summary Report” explicitly notes that cameras on 37 Schmarbeck captured the

incident. (See Dkt. No. 68-3, Exhibit J (this entry to the BPD CAD report was made at 11:07

a.m. on January 1, 2017)). Not one of the defendants, however, made any attempt to view or



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obtain copies of the surveillance footage. Rather, the defendants continued their lawless

prosecution of the plaintiff, even though the video of the accident establishes that Mr. Kistner did

not throw himself at McDermott’s vehicle. (See Dkt. No. 68-4, Exhibit C). Defendants’ failure

to pursue “reasonable avenues of investigation” to establish material facts relied upon for the

prosecution of Mr. Kistner evidences a lack of probable cause as a matter of law. See, e.g.,

Lowth v. Town of Cheektowaga, 82 F.3d 563, 571-72 (2d Cir. 1996).

               Additionally, the defendants lacked probable cause to prosecute the plaintiff for

criminal mischief because there is no evidence that he caused any damage to McDermott’s

vehicle. The criminal complaint alleged that the driver’s side mirror was “dislodged” from the

vehicle and that the driver’s side window was malfunctioning. (See Dkt. No. 68-3, Exhibits K

and M). Although it should have been obvious that the vehicle was not damaged by no later than

January 5, 2017 when it was serviced at the BPD Garage and no repairs were made to the

vehicle’s side mirror and window, Mr. Kistner nonetheless was arraigned twelve days after the

accident and forced to return to court on several occasions to defend himself against the criminal

mischief charge. (See Dkt. No. 68-3, Exhibit O). Defendants lacked probable cause to prosecute

the plaintiff once it was determined that McDermott’s vehicle was not damaged, yet they

continued to pursue the criminal charges without probable cause. See, e.g., Ackerson v. City of

White Plains, 702 F.3d 15, 19-22 (2d Cir. 2012) (probable cause requires that there be sufficient

evidence to believe that all elements of the charge have been met). Accordingly, the Magistrate

correctly recommended the denial of defendants’ motion for summary judgment regarding the

plaintiff’s malicious prosecution claim.




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        V.      The Magistrate’s Recommendation to Deny the Defendants’ Motion for
                Summary Judgment Regarding the Plaintiff’s Failure to Intervene Claim
                Should be Accepted.

                Similar to their argument to the Magistrate, the defendants argue that the

plaintiff’s failure-to-intervene claims should be dismissed because there was no Constitutional

violation, and so there was no reason for them to intervene. (Dkt. No. 133, at p. 9). As

explained above, however, the Magistrate was correct to find multiple violations of the plaintiff’s

Constitutional rights, and so the Magistrate equally was correct in finding that the defendants

failed to meet their burden for dismissal of the plaintiff’s failure-to-intervene claim. (Dkt. No.

108, at p. 31 (“In moving to dismiss [the plaintiff’s failure-to-intervene] claim, defendants argue

that ‘[b]ecause there was no Constitutional violation, there was no reason for any of the officers

to intervene. Alternatively, the officers acted reasonably and in good faith. Qualified immunity

. . . shields them from civil liability for their conduct on January 1, 2017’ . . . For reasons

previously discussed, neither argument warrants dismissal of this claim.”) Thus, should this

Court agree and accept the Magistrate’s findings with respect to their being even just one

violation of the plaintiff’s Constitutional rights, then the Court also should accept the

Magistrate’s recommendation to deny the defendants’ request for dismissal of the plaintiff’s

failure-to-intervene claim. See, e.g., Krzeminski v. City of Buffalo, No. 17-CV-00245, 2018 WL

10335659, at *6 (W.D.N.Y. Dec. 10, 2018) (“Since I have concluded that triable issues of fact

exist concerning at least some of plaintiffs’ alleged constitutional violations, I recommend that

plaintiffs’ related failure to intervene claims also not be dismissed.”) (McCarthy, J.)




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       VI.     The Magistrate’s Recommendation to Deny the Defendants’ Request for
               Summary Judgment Regarding the Plaintiff’s Battery Claim Under
               New York State Law Should be Accepted.

               In their objections, the defendants argue that “the court should dismiss plaintiff’s

battery claim . . . because there is no evidence that [the] contact [with plaintiff] was

unreasonable.” (Dkt. No. 133, at p. 9). However, under New York state law, where “an arrest is

determined to be unlawful, any force against a plaintiff may constitute an assault and battery,

regardless of whether the force would be deemed reasonable if applied during a lawful arrest.”

Rucks v. City of New York, 96 F. Supp. 3d 138, 152 (S.D.N.Y. 2015); see, e.g., 5 Borough Pawn,

LLC v. Marti, 753 F. Supp. 2d 186, 201 (S.D.N.Y. 2010) (same) (quoting Sulkowska v. City of

New York, 129 F. Supp. 2d 274, 294 (S.D.N.Y. 2001)).

               In fact, New York courts repeatedly have held that an officer and police

department are liable for battery where the officer merely touched the plaintiff while unlawfully

detaining and/or arresting the individual. See, e.g., Mendez v. City of New York, 137 A.D.3d 468,

471 (1st Dept. 2016) (citing Johnson v. Suffolk County Police Dept., 245 A.D.2d 340, 341

(2d Dept. 1997) (“[a]s the arrest of the plaintiff by the defendant police officer [ ] was unlawful,

Brussell committed a battery when he touched the plaintiff during that arrest”); Wyllie v. District

Atty. of County of Kings, 2 A.D.3d 714, 718 (2d Dept. 2003) (“an assault and battery cause of

action may be based on contact during an unlawful arrest . . . [and] the questions of fact

regarding whether the plaintiff’s arrest was supported by probable cause also preclude summary

judgment on the cause of action for assault and battery as against the State defendants”).

               Here, the defendants do not deny that they touched the plaintiff during the course

of the arrest. (See Dkt. No. 133, at p. 9 (“Plaintiff was assisted to his feet and escorted away in

handcuffs.”)). Thus, to the extent that this Court agrees that there are at least triable issues as to



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whether the defendants falsely arrested the plaintiff, then it similarly should conclude that the

Magistrate was correct to recommend the denial of the defendants’ summary judgment motion

regarding the plaintiff’s battery claim under New York state law. See Mendez, 137 A.D.3d at

471.



                                           CONCLUSION

                  Accordingly, for the reasons stated above, and the reasons set forth in the

plaintiff’s previously filed objections, it respectfully is submitted that the Court should reject the

defendants’ objections to the Magistrate’s R&R, and instead it should issue an order consistent

with the objections filed by the plaintiff on June 15, 2022. Plaintiff also requests that the Court

grant to the plaintiff any and all other relief that the Court deems just and proper.



Dated: July 28, 2022
       Buffalo, New York
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